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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH DAKOTA
                                SOUTHERN DIVISION

 TRAIL KING INDUSTRIES,                          §
 INC.,                                           §
                                                 §
                            Plaintiff,           §
                  v.                             §                     4:24-cv-4164
                                                            Case No. ________________
                                                 §
 UNITED STATES OF                                §
 AMERICA.                                        §
                                                 §
                          Defendant.             §


               COMPLAINT FOR REFUND OF FEDERAL EXCISE TAXES

       Plaintiff Trail King Industries, Inc. (“Trail King”), hereby files this Complaint for Refund

of Federal Excise Taxes that were erroneously collected and illegally retained by Defendant,

United States of America, and as a basis for this Complaint alleges as follows:

                                PRELIMINARY STATEMENT

       1.      Trail King’s action arises under the Internal Revenue Code of 1986, as amended

and codified in Title 26 of the United States Code, for recovery of federal excise taxes (the “FET”)

erroneously collected and illegally retained by Defendant from Trail King for the first quarter of

2017 through the second quarter of 2019 (the “Taxable Quarters at Issue”), plus any penalties and

statutory interest thereon as provided by law.

                                         THE PARTIES

       2.      Plaintiff Trail King Industries, Inc., headquartered in Mitchell, South Dakota, is a

leading manufacturer of trailers in North America.          Trail King designs, engineers, and

manufactures trailers to serve a wide variety of applications for diverse markets, including

construction, agriculture, transportation, waste and recycling, and specialized hauling. Trail King




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is a corporation existing under the laws of the State of South Dakota. Its Federal Employer

Identification Number is XX-XXXXX93.

       3.      Defendant is the United States of America.

                                JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1346(a) and 26

U.S.C. § 7422 because Defendant erroneously collected and illegally retained the FET from Trail

King and Trail King timely filed a refund claim with respect to the FET.

       5.      For each of the Taxable Quarters at Issue, Trail King timely filed Internal Revenue

Service (“IRS”) Forms 720, Quarterly Federal Excise Tax Return. During the 2019 examination

of the Taxable Quarters at Issue, the IRS proposed adjustments, pursuant to 26 U.S.C. § 4051, to

increase Trail King’s FET associated with Trail King’s sale of Advantage Series OLB Live Bottom

Trailers (“OLB Trailers”). The IRS proposed adjustments allowed for a credit against the FET,

pursuant to 26 U.S.C. § 4051(d), for the tire tax imposed by 26 U.S.C. § 4071 and paid by Trail

King. Trail King formally protested the proposed adjustment to its FET on February 6, 2020, and

on March 6, 2020, the matter was transferred to the IRS Independent Office of Appeals (the

“Appeals Office”). The case was closed as unagreed on April 28, 2023.

       6.      As required by 26 U.S.C. § 7422 as a prerequisite to filing this suit for recovery,

Trail King paid the FET for each of the Taxable Quarters at Issue on June 1, 2023. On September

11, 2023, the IRS assessed the FET in dispute and applied Trail King’s June 1, 2023 payment to

the assessed amount. On September 12, 2023, October 24, 2023 and November 7, 2023, the IRS

refunded Trail King approximately $533,637 in interest and penalties for which Trail King had

overpaid but, for reasons unknown to Trail King, reduced from the amount to be refunded tire tax

credits for certain periods which Trail King had applied pursuant to 26 U.S.C. § 4051(d) for a net




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refund of $483,875. On December 28, 2023, the IRS assessed additional tax totaling $102,769

without explanation. On or about March 1, 2024, Trail King filed IRS Form 720-X, Amended

Quarterly Federal Excise Tax Return, for each of the Taxable Quarters at Issue pursuant to 28

U.S.C. 6511(a). On each of Trail King’s IRS Forms 720-X, it claimed refunds of FET paid on

June 1, 2023, net of the tire tax credits (the “Refund Claims”).

       7.        As of the date of this Complaint, six months have expired since Trail King filed the

Refund Claims and the IRS has not formally disallowed the Refund Claims. This Court has

jurisdiction to hear this action pursuant to 26 U.S.C. § 6532(a) because Trail King: (a) has made

full payment of the FET in dispute; (b) timely filed the Refund Claims; and (c) filed this Complaint

after six months of filing the Refund Claims and within the applicable statute of limitations. See

26 U.S.C. § 6532.

       8.        Venue for this action is proper in the United States District Court for the District of

South Dakota under 28 U.S.C. § 1402(a)(2) because Trail King’s principal place of business is

located at 300 E. Norway Avenue, Mitchell, South Dakota 57301.

                                          JURY DEMAND

       9.        Trail King hereby demands that a jury hear all issues that are triable by a jury. Fed.

R. Civ. P. 38.

                                          ALLEGATIONS

       10.       Trail King is a manufacturer of trailers in North America.                It produces

approximately 40 different types of trailers that are used in construction, agriculture,

transportation, waste and recycling, and specialized hauling. One such variety of trailer is the OLB

Trailer, the sale of which gave rise to the FET in dispute. The OLB Trailer series has essentially




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remained the same in fit, form, and function since Trail King began its manufacture and sale of

the OLB Trailer in 2000. Most of Trail King’s sales of the OLB Trailers are to dealers for resale.

        11.      Pursuant to 26 U.S.C. § 4051, an excise tax is imposed on certain heavy trucks and

trailers sold at retail. As part of an IRS examination in 2003, Trail King and the IRS exam team

sought technical assistance from the Office of Associate Chief Counsel regarding whether Trail

King was liable for excise tax under 26 U.S.C. § 4051(a)(1) in relation to the sale of OLB Trailers.

        12.      On November 1, 2004, the IRS issued Trail King a Technical Advice Memorandum

(“TAM”) finding that Trail King’s retail sales of the trailers were exempt from the federal excise

tax imposed by 26 U.S.C. § 4051(a)(1). See Exhibit A, TAM 200504034 (Jan. 28, 2005).

Specifically, the TAM found that OLB Trailers were not “highway vehicles” subject to the tax

imposed by 26 U.S.C. § 4051.

        13.      A TAM is designed to provide guidance to IRS personnel on the interpretation and

application of the tax law to a specific set of facts. TAMs may be used in response to any technical

or procedural question that develops during any proceeding. Rev. Proc. 2004-2, § 1.02 1; Rev.

Proc. 2024-2, § 3.01. A TAM that is favorable to a taxpayer is binding on the IRS with regard to

the taxpayer who is the subject of the TAM unless or until it is subsequently withdrawn, modified,

or revoked. See Rev. Proc. 2024-2, § 12.01 (“After a TAM is issued, the field office must process

the taxpayer’s case on the basis of the conclusions in the TAM.”); Rev. Proc. 2004-2 § 14.01; Rev.

Proc. 2024-2, § 13.03 (“If an issue addressed in the TAM relates to a continuing action or series

of actions, it is generally applied until it is withdrawn or until the conclusion is modified or

revoked by a final decision in favor of the taxpayer with respect to that issue, the enactment of

legislation, the ratification of a tax treaty, a decision of the United States Supreme Court, or the


1
  Rev Proc. 2004-2, the version of the Revenue Procedure in force in the year in which the TAM was issued, has since
been superseded. Rev. Proc 2024-2 provides the current procedural guidance.


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issuance of temporary regulations, final regulations, a revenue ruling, or other statement published

in the Internal Revenue Bulletin.” ) (emphasis added).

       14.     Defendant does not dispute that, following its issuance on November 1, 2004, it

never formally withdrew, modified, or revoked TAM 200504034. Instead, Defendant has asserted

that the passage of the American Jobs Creation Act of 2004 (the “AJCA”), which introduced a

statutory definition of an off-highway vehicle applicable to determining exemption to the FET

imposed pursuant to 26 U.S.C. § 4051, before the IRS issued TAM 200504034 operatively revoked

TAM 200504034. Defendant’s position was never communicated to Trail King prior to the 2019

IRS examination and TAM 200504034 was never modified or revoked.

       15.     Following the issuance of TAM 200504034, Trail King relied in good faith on the

TAM, applying the “off-highway” exemption to the OLB Trailers in subsequent tax periods.

Defendant has not disputed that Trail King’s sale of the OLB Trailers constituted a continuing

action, or otherwise pointed to any change in the OLB Trailers relevant to the applicability of 26

U.S.C. § 4051 and the off-highway exemption thereto.

       16.     Nearly 15 years after the issuance of TAM 200504034, the IRS initiated an

examination of Trail King’s Forms 720 for the Taxable Quarters at Issue, including the application

of the FET contemplated in 26 U.S.C. § 4051. During the examination, the IRS exam team offered

Trail King a “special allowance” to secure certificates for the sale of the OLB Trailers to Network

Dealers substantiating that the OLB Trailers qualified for an exemption from FET. Acting at the

IRS’s direction, Trail King obtained exemption certificates from its Network Dealers representing

approximately 86% of all OLB Trailer sales during the Taxable Quarters at Issue.

       17.     But after Trail King submitted the certificates, the IRS exam team, without

explanation, reversed course, disregarding the exemption certificates, TAM 200504034 and the




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legal effect of Revenue Procedures 2004-2 section 15.04 (and successor Revenue Procedures)

providing that a taxpayer may rely on a TAM when it relates to a “continuing action.” As a result,

the IRS exam team assessed more than $3 million of FET on sales of the OLB Trailers pursuant

to 26 U.S.C. § 4051. Compounding the harm, the IRS additionally, and without explanation,

withheld $74,400 from refund payments equivalent to tire tax credits for certain taxable periods as

available under 26 U.S.C. § 4051(d).

       The following table is a summary of the FET and tire tax credits in dispute:

   Period        Paid FET         Withheld Tire       Net Penalty and        Total Refund
                 Increase            Credit            Interest Paid       Request Per Period
   Mar-17       $357,673.74          $13,500.00         $104,198.42            $475,372.16
   Jun-17       $562,397.29          $15,300.00         $160,839.38            $738,536.67
   Sep-17       $591,083.24             $0.00           $130,242.94            $721,326.18
   Dec-17       $171,388.65           $6,000.00          $43,542.46            $220,931.11
   Mar-18       $290,744.18             $0.00            $47,939.87            $338,684.05
   Jun-18       $342,383.71          $12,300.00          $76,707.76            $431,391.47
   Sep-18       $281,495.00           $8,700.00          $59,715.27            $349,910.27
   Dec-18        $54,334.83           $1,800.00          $10,539.44             $66,674.27
   Mar-19        $52,836.56           $2,100.00           $9,075.65             $64,012.21
   Jun-19       $516,464.35          $14,700.00          $84,065.28            $615,229.64
    Total      $3,220,801.55         $74,400.00         $726,866.48           $4,022,068.03


       18.     On February 6, 2020, Trail King formally protested the FET assessed by the IRS

exam team. The assessment was contrary to the guidance of TAM 200504034. On March 6, 2020,

the matter was transferred to the Appeals Office and an Appeals Conference was held on

November 12, 2021, with Appeals Officer Kyu Kahn. At the conclusion of the first Appeals

Conference, Appeals Officer Kahn stated verbally that she would propose reversing the potential

assessment in full subject to approval.

       19.     Following the November 12, 2021 Appeals Conference, the Appeals Office failed

to contact Trail King or take any action until August 26, 2022, when a new Appeals Officer, Keith


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A. Prohaska was assigned to the case. In another about-face, Mr. Prohaska communicated to Trail

King that the Appeals Office would not be relying on any of the work or notes prepared by Officer

Kahn. Instead, the second Appeals team made a verbal offer of a de minimis settlement concession

of approximately $16,000 (less than ½ of 1% of the proposed assessment). Due to the Appeals

Office extended review and reassignment of the case, including duplicative appeals conferences,

an additional $250,000 in interest on the proposed assessment accrued unnecessarily.

          20.   Trail King rejected the de minimis settlement concession. The Appeals Office

closed the case as unagreed on April 28, 2023. As required by 26 U.S.C. § 7422 as a prerequisite

to filing suit for recovery, Trail King paid the FET assessment with penalties and statutory interest

in full on June 1, 2023. Though Trail King properly applied certain tire tax credits to its FET

assessment, Defendants, without explanation, reduced Trail King’s refund (generated by Trail

King’s overpayment of penalties and interest) by $74,400. On December 28, 2023, also without

explanation, Defendants assessed an additional tax totaling $102,769. On March 1, 2024, Trail

King filed Forms 720-X claiming refunds for the Taxable Quarters at Issue.

          21.   To date, Defendant has improperly and unlawfully failed to refund the FET paid.

                                     CAUSES OF ACTION

                         Count One – Quarter Ending March 31, 2017

          22.   Trail King realleges and incorporates the preceding paragraphs as if fully set forth

herein.

          23.   Trail King was entitled to rely on TAM 200504034 and apply the “off-highway”

exemption to its sale of the OLB Trailers for the taxable period ending March 31, 2017. Because

Trail King’s federal excise tax liability under 26 U.S.C. § 4051 for the taxable period ending March




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31, 2017 was $930,877 under the properly-applied guidance of the TAM, Trail King is entitled to

a refund of the improperly-assessed $475,372.16 for that quarter.

                          Count Two – Quarter Ending June 30, 2017

          24.   Trail King realleges and incorporates the preceding paragraphs as if fully set forth

herein.

          25.   Trail King was entitled to rely on TAM 200504034 and apply the “off-highway”

exemption to its sale of the OLB Trailers for the taxable period ending June 30, 2017. Because

Trail King’s federal excise tax liability under 26 U.S.C. § 4051 for the taxable period ending June

30, 2017 was $791,620 under the properly-applied guidance of the TAM, Trail King is entitled to

a refund of the improperly-assessed $738,536.67 for that quarter.

                      Count Three – Quarter Ending September 30, 2017

          26.   Trail King realleges and incorporates the preceding paragraphs as if fully set forth

herein.

          27.   Trail King was entitled to rely on TAM 200504034 and apply the “off-highway”

exemption to its sale of the OLB Trailers for the taxable period ending September 30, 2017.

Because Trail King’s federal excise tax liability under 26 U.S.C. § 4051 for the taxable period

ending September 30, 2017 was $569,060 under the properly-applied guidance of the TAM, Trail

King is entitled to a refund of the improperly-assessed $721,326.18 for that quarter.

                       Count Four – Quarter Ending December 31, 2017

          28.   Trail King realleges and incorporates the preceding paragraphs as if fully set forth

herein.

          29.   Trail King was entitled to rely on TAM 200504034 and apply the “off-highway”

exemption to its sale of the OLB Trailers for the taxable period ending December 31, 2017.




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Because Trail King’s federal excise tax liability under 26 U.S.C. § 4051 for the taxable period

ending December 31, 2017 was $500,965 under the properly-applied guidance of the TAM, Trail

King is entitled to a refund of the improperly-assessed $220,931.11 for that quarter.

                         Count Five – Quarter Ending March 31, 2018

          30.   Trail King realleges and incorporates the preceding paragraphs as if fully set forth

herein.

          31.   Trail King was entitled to rely on TAM 200504034 and apply the “off-highway”

exemption to its sale of the OLB Trailers for the taxable period ending March 31, 2018. Because

Trail King’s federal excise tax liability under 26 U.S.C. § 4051 for the taxable period ending March

31, 2018 was $665,926 under the properly-applied guidance of the TAM, Trail King is entitled to

a refund of the improperly-assessed $338,684.05 for that quarter.

                           Count Six – Quarter Ending June 30, 2018

          32.   Trail King realleges and incorporates the preceding paragraphs as if fully set forth

herein.

          33.   Trail King was entitled to rely on TAM 200504034 and apply the “off-highway”

exemption to its sale of the OLB Trailers for the taxable period ending June 30, 2018. Because

Trail King’s federal excise tax liability under 26 U.S.C. § 4051 for the taxable period ending June

30, 2018 was $865,616 under the properly-applied guidance of the TAM, Trail King is entitled to

a refund of the improperly-assessed $431,391.47 for that quarter.

                      Count Seven – Quarter Ending September 30, 2018

          34.   Trail King realleges and incorporates the preceding paragraphs as if fully set forth

herein.




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          35.   Trail King was entitled to rely on TAM 200504034 and apply the “off-highway”

exemption to its sale of the OLB Trailers for the taxable period ending September 30, 2018.

Because Trail King’s federal excise tax liability under 26 U.S.C. § 4051 for the taxable period

ending September 30, 2018 was $1,199,247 under the properly-applied guidance of the TAM,

Trail King is entitled to a refund of the improperly-assessed $349,910.27 for that quarter.

                       Count Eight – Quarter Ending December 31, 2018

          36.   Trail King realleges and incorporates the preceding paragraphs as if fully set forth

herein.

          37.   Trail King was entitled to rely on TAM 200504034 and apply the “off-highway”

exemption to its sale of the OLB Trailers for the taxable period ending December 31, 2018.

Because Trail King’s federal excise tax liability under 26 U.S.C. § 4051 for the taxable period

ending December 31, 2017 was $954,337 under the properly-applied guidance of the TAM, Trail

King is entitled to a refund of the improperly-assessed $66,674.27 for that quarter.

                         Count Nine – Quarter Ending March 31, 2019

      38.       Trail King realleges and incorporates the preceding paragraphs as if fully set forth

herein.

      39.       Trail King was entitled to rely on TAM 200504034 and apply the “off-highway”

exemption to its sale of the OLB Trailers for the taxable period ending March 31, 2019. Because

Trail King’s federal excise tax liability under 26 U.S.C. § 4051 for the taxable period ending March

31, 2019 was $1,031,708 under the properly-applied guidance of the TAM, Trail King is entitled

to a refund of the improperly-assessed $64,012.21 for that quarter.




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                              Count Ten – Quarter Ending June 30, 2019

          40.      Trail King realleges and incorporates the preceding paragraphs as if fully set forth

herein.

          41.      Trail King was entitled to rely on TAM 200504034 and apply the “off-highway”

exemption to its sale of the OLB Trailers for the taxable period ending June 30, 2019. Because

Trail King’s federal excise tax liability under 26 U.S.C. § 4051 for the taxable period ending June

30, 2019 was $1,160,930 under the properly-applied guidance of the TAM, Trail King is entitled

to a refund of the improperly-assessed $615,229.64 for that quarter.

                                         PRAYER FOR RELIEF

          WHEREFORE, Trail King prays for a judgment against Defendant as follows:

                a. That Trail King be refunded the improperly assessed and unlawfully retained

$4,022,068.03 and statutory interest thereon.

                b. Trail King’s costs of this action and for such other, further, and different relief as

this Court may deem appropriate.




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Dated: September 9, 2024                  __/s/ Vince M. Roche
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